2/15/22, 2:16 PM                    Case 4:21-cv-03075         Document
                                             Linden Builders, Inc              153-2
                                                                  Mail - Response        Filed
                                                                                  Required:      on 06/20/23
                                                                                            Trademark             in TXSD
                                                                                                      Order #66861226           Page 1 of 14
                                                                                                                      [ ref:_00DG0BmQx._5004R1gn5w5:ref ]



                                                                                                                                   Federico Nell <fnell@lindenbuilders.com>



  Response Required: Trademark Order #66861226 [ ref:_00DG0BmQx._5004R1gn5w5:ref ]
  Federico Nell <fnell@lindenbuilders.com>                                                                                                        Wed, Mar 17, 2021 at 4:51 PM
  To: "support@legalzoom.com" <support@legalzoom.com>

    Yes, please proceed.




    Federico Nell
    President


    10801 Hammerly Blvd,
    Suite 210
    Houston, TX 77043
    Cell : (832) 576-6241
    Office : (281) 393-4008
    Fax : (713) 999-0028




                                                                                Trojan EV & GCC

                                                                                    DTX-4
                                                                                   No 4:21-cv-03075
                                                                                                                                                    TROJAN EV000024
https://mail.google.com/mail/u/2/?ik=fd8605b480&view=pt&search=all&permmsgid=msg-a%3Ar-4504966271234257480&dsqt=1&simpl=msg-a%3Ar-4504966271234257480                        1/3
2/15/22, 2:16 PM                    Case 4:21-cv-03075            Document
                                                Linden Builders, Inc              153-2
                                                                     Mail - Response        Filed
                                                                                     Required:      on 06/20/23
                                                                                               Trademark             in TXSD
                                                                                                         Order #66861226           Page 2 of 14
                                                                                                                         [ ref:_00DG0BmQx._5004R1gn5w5:ref ]

    Electronic Privacy Notice: This email and any attachments are intended only for the use of the individual or entity to which it is addressed, and may
    contain information that is privileged, confidential and exempt from disclosure under applicable law. You are hereby notified that any use or disclosure
    of this information is strictly prohibited. If you have received this communication in error, please reply to the sender, so that proper delivery can be
    arranged, and delete the original message and any attachments from your mailbox. Thank you for your cooperation.


    On Wed, Mar 17, 2021 at 4:45 PM support@legalzoom.com <support@legalzoom.com> wrote:



                                       LegalZoom.com

                                      Dear Federico,

                                      We have conducted a Basic Federal Direct-Hit Search of your proposed Trademark, and have attached a report
                                      with your results to this email.

                                      Your Next Steps
                                      Please review the attached materials carefully. Once your review is complete, please reply to this email and tell us
                                      how you want to proceed. Your options are:

                                      1. LegalZoom will process and file your Trademark application as is.

                                      2. Submit a different name or logo — this means you can either update your previous submission or create a new
                                      mark altogether. You will receive a FREE Basic Federal Direct-Hit Search of the different mark (up to three
                                      searches are included with your Trademark application order).

                                      3. Consult with an attorney about your Trademark and search results.*

                                      4. Upgrade your order with a Comprehensive Trademark Search for more coverage of possible conflicts, including
                                      unregistered uses of marks similar to your proposed Trademark in commerce (for example, in business and
                                      website domain names).

                                      Please note: If you want us to delay the processing of your Trademark application, contact us within 7 days from
                                      the date of this email. Otherwise, we will proceed with filing your Trademark application as is.

                                      Please feel free to contact our Customer Care Team if we can be of further assistance. Simply reply to this email,
                                      or call us toll free at 1.800.773.0888. Our Customer Care Team is available Monday–Friday from 7 a.m.– 9 p.m.
                                      CST; Saturday – Sunday from 9 a.m.– 6 p.m. CST.

                                      Best regards,

                                      The LegalZoom Team
                                                                                                                                                             TROJAN EV000025
https://mail.google.com/mail/u/2/?ik=fd8605b480&view=pt&search=all&permmsgid=msg-a%3Ar-4504966271234257480&dsqt=1&simpl=msg-a%3Ar-4504966271234257480                          2/3
2/15/22, 2:16 PM                    Case 4:21-cv-03075         Document
                                             Linden Builders, Inc              153-2
                                                                  Mail - Response        Filed
                                                                                  Required:      on 06/20/23
                                                                                            Trademark             in TXSD
                                                                                                      Order #66861226           Page 3 of 14
                                                                                                                      [ ref:_00DG0BmQx._5004R1gn5w5:ref ]


                                      tel 855.787.1957 | fax 323.337.0743
                                      www.LegalZoom.com | 9900 Spectrum Drive, Austin, TX 78717



                                      Business Advantage Pro members can receive further guidance from an attorney for no additional cost. If you are
                                      a member, take advantage of your benefits by scheduling a consultation. If you are not a Business Advantage Pro
                                      member and would like more information about this valuable service, please visit us or call customer care at (877)
                                      657-8787. Please note that Business Advantage Pro is not available in all states.




                                    Your Trademark search report is subject to LegalZoom’s Terms of Service. This is a service email related to your
                                    LegalZoom account. For more information about how LegalZoom uses your information, please see the Privacy Policy.


                                    LegalZoom provides access to independent attorneys and self-help services at your specific direction. We are not a law
                                    firm or a substitute for an attorney or law firm. Prices, features, terms and conditions are subject to change without
                                    notice. LegalZoom is located at 9900 Spectrum Drive, Austin, TX 78717.

                                    Please add services@emails.legalzoom.com to your address book.


                                    This email was sent to: fnell@lindenbuilders.com




                                    © LegalZoom.com, Inc. All rights reserved.



       ref:_00DG0BmQx._5004R1gn5w5:ref




                                                                                                                                                             TROJAN EV000026
https://mail.google.com/mail/u/2/?ik=fd8605b480&view=pt&search=all&permmsgid=msg-a%3Ar-4504966271234257480&dsqt=1&simpl=msg-a%3Ar-4504966271234257480                          3/3
    Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 4 of 14




YOUR TRADEMARK SEARCH RESULTS
In the following pages, you will find information about both registered and pending trademarks with the
U.S. Patent and Trademark Office (USPTO) that may conflict with the one that you want to register.

Trademark text or literal element searched:

Trojan - EV

What is a trademark conflict?
As part of your trademark application review, the USPTO searches its records for conflicts between your
proposed mark and other federally registered or pending marks. For examination purposes, a conflict
exists when one trademark is confusingly similar with another trademark already registered or is
pending registration. The principal factors used by the USPTO to determine potential conflicts include:

    •    The similarity of the marks in appearance, sound, and meaning
    •    Whether the marks are used to sell similar types of products (“goods”) or services
    •    The number of similar marks currently in use
    •    The similarity of established sales channels and the sophistication of the relevant buyers

Please note: To be considered a conflict, your trademark does not have to be identical to another
trademark and the products and/or services associated with the marks do not have to be exactly the
same. Conflicts are determined by the USPTO, not by LegalZoom.

Click here for more information about trademark conflicts.

What should I do next?
Please review the following pages carefully. Once your review is complete, please email
trademarksearch@legalzoom.com and tell us how you want to proceed.

Your options are:

1. LegalZoom will process and file your trademark application as is.
2. Submit a different name or logo — this means you can either update your previous submission or
   create a new mark altogether. You will receive a FREE Basic Federal Direct-Hit Search of the different
   mark (up to three searches are included with your trademark application order).
3. Consult with an attorney about your trademark and search results.*
4. Upgrade your order with a Comprehensive Trademark Search for more coverage of possible
   conflicts, including unregistered uses of marks similar to your proposed trademark in commerce (for
   example, in business and website domain names).


* Business Advantage Pro members can receive further guidance from an attorney for no additional cost. If you are a member,
take advantage of your benefits by scheduling a consultation. If you are not a Business Advantage Pro member and would like
more information on this valuable service, please visit us or call Customer Care at (877) 657-8787. Please note that Business
Advantage Pro is not available in all states.



                                                           Page 1

                                                                                                      TROJAN EV000027
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 5 of 14




Word Mark       TROJAN FC
Goods and       IC 041. US 100 101 107. G & S: Youth soccer academy; Arranging and conducting youth
Services        soccer training programs; soccer coaching; organization of soccer games and tournaments;
                Youth soccer club. FIRST USE: 20201201. FIRST USE IN COMMERCE: 20210204
Mark Drawing
                (0) UNKNOWN
Code
Serial Number 90559045
Filing Date     March 4, 2021
Current Basis 1A
Original Filing
                1A
Basis
Owner           (APPLICANT) TROJAN FC, INC. non-profit corporation CALIFORNIA 16701 Algonquin Street
                #119 Huntington Beach CALIFORNIA 92649
Attorney of
                Erik Ceja, Esq.
Record
Description of The mark consists of a silhouette of a right-facing trojan soldier with a plumed helmet in the
Mark            center of shield over the stylized words "TROJAN FC".
Type of Mark SERVICE MARK
Register        PRINCIPAL
Live/Dead
                LIVE
Indicator




                                                   Page 2

                                                                                         TROJAN EV000028
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 6 of 14




Word Mark         TROJAN
Goods and         IC 027. US 019 020 037 042 050. G & S: Yoga mats; floor mats; personal exercise mats
Services
                  IC 028. US 022 023 038 050. G & S: Exercise treadmills; stationary exercise bicycles; elliptical
                  exercise machines; stair-stepping exercise machines; exercise equipment, namely, rowing
                  machines; manually-operated exercise equipment; exercise equipment, namely, weightlifting
                  machines, bars, benches, towers, cages, and racks; squat racks; clamps specially adapted for
                  use with weightlifting bars; exercise weights; exercise weight plates; kettle bells; dumbbells;
                  barbells; physical fitness equipment, namely, sandbags; storage racks for physical fitness
                  equipment, namely, exercise weights; weight lifting belts; exercise equipment, namely, straps
                  that are affixed to doors for performance of various exercises using body weight resistance;
                  hand grips for exercise weights; exercise balls; medicine balls; jump ropes; abdominal wheel
                  rollers for fitness purposes; exercise equipment in the nature of resistance bands; stretch
                  bands used for yoga and physical fitness purposes; exercise equipment, namely, plyometric
                  boxes
Standard
Characters
Claimed
Mark Drawing
                  (4) STANDARD CHARACTER MARK
Code
Serial Number     90142792
Filing Date       August 27, 2020
Current Basis     1B
Original Filing
                  1B
Basis
Published for
                  March 23, 2021
Opposition
Owner             (APPLICANT) Evolution Group USA LLC LIMITED LIABILITY COMPANY DELAWARE 1501
                  NE 26th Street Fort Lauderdale FLORIDA 33305
Attorney of
                  Laura M. Konkel
Record
Type of Mark      TRADEMARK
Register          PRINCIPAL
Live/Dead
                  LIVE
Indicator




                                                     Page 3

                                                                                            TROJAN EV000029
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 7 of 14




Word Mark         TROJANS
Goods and         IC 006. US 002 012 013 014 023 025 050. G & S: Key rings of non-precious metals; car
Services          emblems of non-precious metals; art work desktop statuary of non-precious metals; and
                  metallic money clips. FIRST USE: 19760000. FIRST USE IN COMMERCE: 19760000

                  IC 012. US 019 021 023 031 035 044. G & S: Metal frames for metal license plates. FIRST
                  USE: 19760000. FIRST USE IN COMMERCE: 19760000

                  IC 018. US 001 002 003 022 041. G & S: Umbrellas; luggage, namely, tote bags, hand
                  luggage, garment bags and overnight bags; fanny packs; toiletry bags sold empty; briefcases;
                  backpacks; duffel bags; wallets; business card cases; luggage tags; animal leashes; and dog
                  collars. FIRST USE: 19760000. FIRST USE IN COMMERCE: 19760000

                  IC 024. US 042 050. G & S: Towels, stadium blankets, cloth pennants and cloth flags. FIRST
                  USE: 19760000. FIRST USE IN COMMERCE: 19760000

                  IC 025. US 022 039. G & S: Clothing, namely, adult and children's T-shirts; adult and
                  children's sweatshirts, adult and children's warm-up suits, adult and children's jackets, adult
                  and children's sweaters, adult and children's jerseys, adult and children's tank tops, adult and
                  children's shorts, men's shirts, ladies' tops, creepers, baby pants, sport shirts, baseball shirts,
                  basketball jerseys, golf sweaters, night shirts, boxer shorts, adult and children's socks, baby
                  booties, adult and children's tennis shoes, sandals, hats, caps, sport caps, visor caps, crew
                  caps, baby caps, bandannas, scarves and ties. FIRST USE: 19760000. FIRST USE IN
                  COMMERCE: 19760000

                  IC 041. US 100 101 107. G & S: Educational services, namely, providing classes, courses,
                  seminars, educational research and training at the undergraduate, graduate, post-graduate,
                  adult education and professional levels; and entertainment services, namely, conducting
                  athletic competitions, organizing intercollegiate, community, and national sporting and cultural
                  events; sports instruction; providing musical, band, dance, theatrical and dramatic
                  performances; production and programming of television and radio programs. FIRST USE:
                  19760000. FIRST USE IN COMMERCE: 19760000
Mark Drawing
                  (1) TYPED DRAWING
Code
Serial Number     76288129
Filing Date       July 19, 2001
Current Basis     1A
Original Filing
                  1A
Basis
Published for
                  October 29, 2002
Opposition
Registration
                  2676784
Number
Registration
                  January 21, 2003
Date
Owner             (REGISTRANT) University of Southern California NON-PROFIT CORPORATION
                  CALIFORNIA University Park, ADM 352 Los Angeles CALIFORNIA 900895013
Attorney of
                  Scott A. Edelman
Record
Prior
                  1542654;2180585;AND OTHERS
Registrations


                                                      Page 4

                                                                                               TROJAN EV000030
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 8 of 14



Type of Mark     TRADEMARK. SERVICE MARK
Register         PRINCIPAL
Affidavit Text   SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130126.
Renewal          1ST RENEWAL 20130126
Live/Dead
                 LIVE
Indicator




                                              Page 5

                                                                      TROJAN EV000031
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 9 of 14




Word Mark         TROJAN TIRE
Goods and         IC 012. US 019 021 023 031 035 044. G & S: TIRES; DUAL TIRES; DUAL TIRES WITH A
Services          SPACER IN BETWEEN THE TIRES; SAFETY DEVICES FOR INFLATABLE TIRES,
                  NAMELY, NON-PNEUMATIC INSERTS FOR MAINTAINING TIRE INTEGRITY DURING
                  RUN FLAT OR NEARLY RUN FLAT CONDITION. FIRST USE: 19930000. FIRST USE IN
                  COMMERCE: 19930000

                  IC 017. US 001 005 012 013 035 050. G & S: TIRE-RELATED PRODUCTS, NAMELY, TIRE
                  FILLS. FIRST USE: 19870400. FIRST USE IN COMMERCE: 19880000
Standard
Characters
Claimed
Mark Drawing
                  (4) STANDARD CHARACTER MARK
Code
Serial Number     76647677
Filing Date       September 28, 2005
Current Basis     1A
Original Filing
                  1B
Basis
Published for
                  January 23, 2007
Opposition
Registration
                  3436587
Number
Registration
                  May 27, 2008
Date
Owner             (REGISTRANT) JALCOS HOLDINGS INC. CORPORATION CANADA 960 GATEWAY
                  BURLINGTON, ONTARIO CANADA L7L 5K7
Attorney of
                  Terrence L.B. Brown
Record
Disclaimer        NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "TIRE" APART FROM THE
                  MARK AS SHOWN
Type of Mark      TRADEMARK
Register          PRINCIPAL
Affidavit Text    SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20170708.
Renewal           1ST RENEWAL 20170708
Live/Dead
                  LIVE
Indicator




                                               Page 6

                                                                                 TROJAN EV000032
  Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 10 of 14




Word Mark     TROJAN AIR-CELL
Goods and     IC 012. US 019 021 023 031 035 044. G & S: Tires; safety devices for inflatable tires, namely,
Services      non-pneumatic inserts for maintaining tire integrity during run flat or nearly run flat condition.
              FIRST USE: 20070600. FIRST USE IN COMMERCE: 20070600

              IC 017. US 001 005 012 013 035 050. G & S: TIRE-RELATED PRODUCTS, NAMELY, TIRE
              FILLS MADE OF NATURAL RUBBER FOR TIRES, TIRE FILLS MADE OF SYNTHETIC
              RUBBER FOR TIRES, TIRE FILLS MADE OF POLYURETHANE FOR TIRES, AND TIRE
              FILLS MADE OF ELASTOMERIC COMPOUNDS FOR TIRES. FIRST USE: 20070600. FIRST
              USE IN COMMERCE: 20070600
Standard
Characters
Claimed
Mark Drawing
                (4) STANDARD CHARACTER MARK
Code
Trademark
Search Facility NOTATION-SYMBOLS Notation Symbols such as Non-Latin characters,punctuation and
Classification mathematical signs,zodiac signs,prescription marks
Code
Serial Number 76675977
Filing Date     April 24, 2007
Current Basis 1A
Original Filing
                1B
Basis
Published for
                April 21, 2009
Opposition
Registration
                3771907
Number
Registration
                April 6, 2010
Date
Owner           (REGISTRANT) JALCOS HOLDINGS INC. CORPORATION CANADA 960 Gateway
                Burlington, Ontario CANADA L7L 5K7
Attorney of
                Terrence L.B. Brown
Record
Prior
                1822598
Registrations
Disclaimer      NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "AIR CELL" APART FROM THE
                MARK AS SHOWN
Type of Mark TRADEMARK
Register        PRINCIPAL
Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20190826.
Renewal         1ST RENEWAL 20190826
Live/Dead
                LIVE
Indicator




                                                  Page 7

                                                                                          TROJAN EV000033
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 11 of 14




Word Mark         SOFTIRE CORE ENGINEERED: TROJAN TIRE
Goods and         IC 012. US 035. G & S: tires and tire related products; namely, layered fill therefor.
Services          FIRST USE: 19920401. FIRST USE IN COMMERCE: 19920401
Mark Drawing Code (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
Design Search     03.05.01 - Horses
Code              03.05.16 - Heads of horses, donkeys, zebras
                  03.05.24 - Stylized horses, donkeys, zebras
                  18.11.01 - Inner tubes; Tire marks; Tires; Tubes, tire
                  26.01.20 - Circles within a circle
                  26.01.21 - Circles that are totally or partially shaded.
Serial Number     74326020
Filing Date       October 28, 1992
Current Basis     1A
Original Filing
                  1A
Basis
Published for
                  November 30, 1993
Opposition
Registration
                  1822598
Number
Registration Date February 22, 1994
Owner             (REGISTRANT) TROJAN TIRE, INC. CORPORATION CANADA 1097 North Service
                  Road East Oakville, Ontario CANADA L6H 1A6

                      (LAST LISTED OWNER) JALCOS HOLDINGS INC. CORPORATION BY ASSIGNMENT
                      CANADA 960 GATEWAY CANADA L7L 5K7
Assignment
                      ASSIGNMENT RECORDED
Recorded
Attorney of Record  TERRENCE L.B. BROWN
Prior Registrations 1628208
Disclaimer          NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ENGINEERED" and "TIRE"
                    APART FROM THE MARK AS SHOWN
Description of Mark The stippling shown in the drawing is for shading purposes only, and is not intended to
                    designate any particular color.
Type of Mark        TRADEMARK
Register            PRINCIPAL
Affidavit Text      SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130724.
Renewal             2ND RENEWAL 20130724
Live/Dead Indicator LIVE




                                                  Page 8

                                                                                       TROJAN EV000034
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 12 of 14




Word Mark         TROJAN MOTO
Goods and         IC 007. US 013 019 021 023 031 034 035. G & S: Aftermarket motorcycle engine exhaust
Services          systems comprised of exhaust pipe, exhaust tips, exhaust headers, exhaust silencers,
                  exhaust manifolds and mufflers
Standard
Characters
Claimed
Mark Drawing
                  (4) STANDARD CHARACTER MARK
Code
Serial Number     88855059
Filing Date       March 31, 2020
Current Basis     1B
Original Filing
                  1B
Basis
Published for
                  July 28, 2020
Opposition
Owner             (APPLICANT) The Aftermarket Group, Inc. CORPORATION NORTH CAROLINA 110
                  Vista Blvd. Arden NORTH CAROLINA 287049457
Attorney of
                  Henry B. Ward, III
Record
Disclaimer        NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "MOTO" APART FROM THE
                  MARK AS SHOWN
Type of Mark      TRADEMARK
Register          PRINCIPAL
Live/Dead
                  LIVE
Indicator




                                               Page 9

                                                                                   TROJAN EV000035
   Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 13 of 14




Word Mark         TROJAN-OH
Goods and         IC 041. US 100 101 107. G & S: Entertainment services, namely, wrestling exhibits and
Services          performances by a professional wrestler and entertainer; Providing wrestling news and
                  information via a global computer network. FIRST USE: 20170317. FIRST USE IN
                  COMMERCE: 20170317
Standard
Characters
Claimed
Mark Drawing
                  (4) STANDARD CHARACTER MARK
Code
Serial Number     87871473
Filing Date       April 10, 2018
Current Basis     1A
Original Filing
                  1A
Basis
Published for
                  January 22, 2019
Opposition
Registration
                  5719699
Number
Registration
                  April 9, 2019
Date
Owner             (REGISTRANT) Twola Heads Entertainment LLC LIMITED LIABILITY COMPANY
                  CALIFORNIA 7719 Somerset Blvd Paramount CALIFORNIA 90723
Type of Mark      SERVICE MARK
Register          PRINCIPAL
Other Data        The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular
                  living individual.
Live/Dead
                  LIVE
Indicator




                                                  Page 10

                                                                                          TROJAN EV000036
  Case 4:21-cv-03075 Document 153-2 Filed on 06/20/23 in TXSD Page 14 of 14




Word Mark         TROJAN-ENZ
Goods and         IC 010. US 026 039 044. G & S: Condoms. FIRST USE: 19540319. FIRST USE IN
Services          COMMERCE: 19540319
Mark Drawing Code (1) TYPED DRAWING
Serial Number     78314462
Filing Date       October 16, 2003
Current Basis     1A
Original Filing
                  1A
Basis
Published for
                  May 25, 2004
Opposition
Registration
                  2875092
Number
Registration Date August 17, 2004
Owner             (REGISTRANT) Armkel, LLC CORPORATION DELAWARE 469 North Harrison Street
                  Princeton NEW JERSEY 085435297

                   (LAST LISTED OWNER) CHURCH & DWIGHT CO., INC. CORPORATION DELAWARE
                   500 Charles Ewing Boulevard Ewing NEW JERSEY 08628
Assignment
                    ASSIGNMENT RECORDED
Recorded
Attorney of Record Nancy L. Rowe
Prior Registrations 0600080
Type of Mark        TRADEMARK
Register            PRINCIPAL
Affidavit Text      SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20140728.
Renewal             1ST RENEWAL 20140728
Live/Dead Indicator LIVE




                                            Page 11

                                                                           TROJAN EV000037
